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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

DEBORAH K. MURPHY-DAVIDSON,

Plaintiff,

V.

Hon. Phillip J. Green

Case No. 1:14-cv-00779-PJG

KENNETH J. STOLL, et al.,

Defendants.

1a.

1b.

lc.

ld.

/

VERDICT FORM

Did Mr. Stoll assault Ms. Davidson on August 5, 2013?

YES \/NO

If your answer to question 1 is NO, skip questions 1b through ld and
answer question 2, below.

If your answer to question 1 is Y`ES, was the assault the proximate
cause of damages to Ms. Davidson‘?

YES NO
If your answer to question 1b is NO, skip question 1d and answer
question 2, below.

If your answer to question 1b is YES, was Mr. Stoll acting within the
scope and course of his employment with ComForcare at the time of
the assault?

YES NO

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Did Mr. Stoll hatter Ms. Davidson on August 5, 2013?

_YES _‘VLNO

2a.

2b.

20.

2d.

If your answer to question 2 is NO, skip questions 2b through 2d and
answer question 3, below.

If your answer to question 2 is YES, was the battery the proximate
cause of damages to Ms. Davidson?

Y"ES NO
If your answer to question 2b is NO, skip question 2d and answer
question 3, below.

If your answer to question 2b is YES, was Mr. Stoll acting within the
scope and course of his employment with ComForcare at the time of
the battery?

YES NO

Did Mr. Stoll stalk Ms. Davidson during the period of time of June 10, 2013,
through August 5, 2013?

YES _‘\LNO

3a.

3b.

30.

3d.

If your answer to question 3 is NO, skip questions 3b through 3d and
answer question 4, below.

If your answer to question 3 is Y`.ES, was the stalking the proximate
cause of damages to Ms. Davidson?

YES NO

Ii` your answer to question 3b is NO, skip question 3d and answer
question 4, below.

If your answer to question 3b is YES, was Mr. Sto]l acting within the
scope and course of his employment with ComForcare at the time of
the stalking?

YES NO

_2_

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Did Mr. Stoll intentionally inflict emotional distress on plaintiff during the
period of time of June 10, 2013, through August 5, 2013?

_YES LNO

4a. If your answer to question 4 is NO, skip questions 4b through 4d and
review instruction 5, below.

4b. If your answer to question 4 is YES, was the intentional infliction of
emotional distress the proximate cause of damages to Ms. Davidson?

____ YES _ NO
4c. If your answer to question 4b is NO, skip question 4d and review
instruction 5, below.

4d. If your answer to question 4b is YES, was Mr. Stoll acting within the
scope and course of his employment with ComForcare at the time of
the intentional infliction of emotional distress?

YES NO
If your answers to questions 1, 2, 3 and 4 were each NO -in other words,
that you found that Mr. Stoll did n_ot assault, batter, stalk, or intentionally
inflict emotional distress on Ms. Davidson -» skip all the remaining
instructions and questions and have the foreperson sign and date this verdict
form.

If your answer to a_ny of the questions 1, 2, 3 and 4 was YES - in other words,
that you found that Mr. Stoll did at least one of the following: assault,
battery, stalking, or intentional infliction of emotional distress on Ms.
Davidson - answer questions 7 through 11, helow.

If you find that Ms. Davidson has already suffered economic damages, what
is the total amount of those damages to date?

Answer: $

If you find that Ms. Davidson will suffer economic damages in the future,
what is the total amount of those damages?

A.nswer: $

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9. If you find that Ms. Davidson has already suffered non-economic damages,
what is the total amount of those damages to date?

Answer: $

10. If you find that Ms. Davidson will suffer non-economic damages in the future
what is the total amount of those damages?

l

Answer: $

11. Answer question 11a only if you found that Mr. Stoll stalked Ms. Davidson;
otherwise skip questions 11a through 110 and have the foreperson sign and
date this verdict form.

lla. ls Ms. Davidson entitled to exemplary damages?

YES NO

11b. If your answer to question 11a is NO, skip question 11b and have the
foreperson sign and date this verdict form.

llc. l`f your answer to question 11a is YES, what is the total amount of the
exemplary damages?

 

Answer: $
Date: 7[ }L`H ZOl l Cl/( m W\(l./U-,iv. l/il jll/lM/(v/
JiJRY FOREPERSON d

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